       Case 2:14-cr-00120-SMJ           ECF No. 277        filed 09/23/16      PageID.1380 Page 1 of 2
 PROB 12C                                                                          Report Date: September 23, 2016
(6/16)

                                       United States District Court
                                                                                                 FILED IN THE
                                                                                             U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON
                                                       for the

                                        Eastern District of Washington
                                                                                        Sep 23, 2016
                                                                                            SEAN F. MCAVOY, CLERK

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Alycia Jean Scott                        Case Number: 0980 2:14CR00120-SMJ-3
 Address of Offender:                                 Wellpinit, Washington 99040
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: August 25, 2015
 Original Offense:        Misprison of a Felony, 18 U.S.C. § 4
 Original Sentence:       Prison - 6 months                 Type of Supervision: Supervised Release
                          TSR - 12 months
 Asst. U.S. Attorney:     Rudy J. Verschoor                 Date Supervision Commenced: February 17, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: February 16, 2017


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 09/09/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Special Condition # 14: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                        patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                        to confirm continued abstinence from these substances.

                        Supporting Evidence: The offender failed to appear for a random drug test at Alcohol
                        Drug Education Prevention and Treatment (ADEPT) in Spokane, Washington, on
                        September 15, 2016.
                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:     September 23, 2016
                                                                              s/Charles J. Kuipers
                                                                              Charles J. Kuipers
                                                                              U.S. Probation Officer
     Case 2:14-cr-00120-SMJ        ECF No. 277     filed 09/23/16   PageID.1381 Page 2 of 2
Prob12C
Re: Scott, Alycia Jean
September 23, 2016
Page 2

 THE COURT ORDERS

 [   ]    No Action
 [   ]    The Issuance of a Warrant
 [   ]    The Issuance of a Summons
 [   ]    The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                    Signature of Judicial Officer

                                                                     09/23/2016
                                                                    Date
